                    IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                        CRIMINAL DOCKET NO. 3:09CR189-RJC-DCK


UNITED STATES OF AMERICA      }
          Plaintiff,          }
                              }
  vs.                         }                      ORDER
                              }
SILAS JUNIOR MOBLEY           }
            Defendant         }
______________________________}


       THIS MATTER IS BEFORE THE COURT on the “Motion To Withdraw” Document No.

27) filed by counsel for the Defendant, Silas Junior Mobley, on February 12, 2010; and the pro se

Motion to Disqualify Counsel (Document No. 28) filed by the Defendant, Silas Junior Mobley, on

February 12, 2010. This matter has been referred to the undersigned for disposition. For the reasons

stated below, the Motion to Withdraw will be granted and the Motion to Disqualify Counsel will be

denied as moot.

       In the aforementioned Motion to Withdraw, experienced defense counsel indicates that

“irreconcilable differences” have developed between himself and his client, and he therefore cannot

continue to effectively represent the Defendant. Counsel explains that “the level of trust between

Counsel and Defendant has completely broken down,” and it would be in the Defendant’s best

interest to be represented by new counsel. The substance of the Defendant’s pro se Motion to

Disqualify Counsel makes the breakdown of communication between attorney and client in the case

readily apparent.

       Applying the familiar standard of United States v. Mullen, 32 F.3rd 891, 895 (4th Cir. 1994),

the Court does find that the Motion to Withdraw is in order and should be granted. It is apparent



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from the record that the attorney client conflict in the case is so great at this point that it results in

a total lack of communication preventing an adequate defense. The Court having granted the Motion

to Withdraw, the Court will direct that new counsel be appointed immediately and that the

Defendant’s pro se Motion to Disqualify Counsel be denied as moot.

        IT IS THEREFORE ORDERED that the Motion To Withdraw (Document No. 27) is

hereby GRANTED. The Federal Defender shall assign new counsel to the Defendant as soon as

possible.

        IT IS FURTHER ORDERED that the Defendant’s pro se Motion To Disqualify Counsel

(Document No. 28) shall be DENIED AS MOOT.



                                                    Signed: February 16, 2010




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